      Case 2:21-cv-06730-FLA-PVC Document 23 Filed 11/29/21 Page 1 of 1 Page ID #:110




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                            CASE NUMBER
Joseph L. Garces
                                                                          2:21-cv-06730-FLA-PVC
                                             Plaintiff(s)
                            v.

City of Santa Paula et al
                                                                    ORDER/REFERRAL TO ADR
                                          Defendant(s).

The Court, having reviewed the parties’ Request: ADR Procedure Selection (Form ADR-01), the Notice
to Parties of Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed. R.
Civ. P. 26(f) and L.R. 26-1, hereby:
ORDERS this case referred to:
         ADR PROCEDURE NO. 1: This case is referred to the magistrate judge assigned to the case
         or the magistrate judge in Santa Barbara for such settlement proceedings as the judge may
         conduct or direct. Counsel are directed to contact the magistrate judge's courtroom deputy to
         arrange a date and time for the ADR proceeding.
         ADR PROCEDURE NO. 2: This case is referred to the Court Mediation Panel. Within twenty-
         one (21) days, plaintiff shall obtain the consent of a neutral on the Court Mediation Panel who
         will conduct the mediation and shall file Form ADR-2, Stipulation Regarding Selection of Panel
         Mediator. If the parties have not selected and obtained the consent of a Panel Mediator within
         twenty-one (21) days, the ADR Program (213-894-2993) will assign one. Forms and a list of the
         Panel Mediators are available on the Court website, www.cacd.uscourts.gov. Absent
         extraordinary circumstances, parties cannot request a continuance within three (3) business
         days of a scheduled mediation.
     ✔   ADR PROCEDURE NO. 3 : This case is referred to private mediation. Counsel are directed to
         contact the private mediator of their choice to arrange a date and time for the mediation.

IT IS FURTHER ORDERED:
    The ADR proceeding is to be completed by: 2/17/2023
    The parties shall file a joint report no later than seven (7) days after the ADR proceeding regarding
    the progress of settlement discussions.
    The Court sets a further status conference for:

Dated: November 29, 2021
                                                            United States District Judge
ADR-12 (04/18)                             ORDER/REFERRAL TO ADR                                  Page 1 of 1
